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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION


 IN RE: DEERE REPAIR SERVICES                                     MDL No. 3030



                                     PROOF OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, I hereby certify that copies of the foregoing Response to

Motion to Transfer were served on all parties in the following cases electronically via ECF, or

as indicated below, on March 22, 2022.


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